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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 CHARLENE FIGUEROA and JERMAINE BURTON,                     )
 individually and on behalf of all others similarly         )
 situated,                                                  )   19 C 1306
                                                            )
                                         Plaintiffs,        )   Judge Gary Feinerman
                                                            )
                           vs.                              )
                                                            )
 KRONOS INCORPORATED,                                       )
                                                            )
                                Defendant.                  )
 ________________________________________                   )   __________________________
                                                            )
 QUATISHA MARSHALL and ART ARCANGELO,                       )
 individually and on behalf of similarly situated           )   19 C 1511
 individuals,                                               )
                                                            )   Judge Gary Feinerman
                                         Plaintiffs,        )
                                                            )
                           vs.                              )
                                                            )
 KRONOS INCORPORATED,                                       )
                                                            )
                                       Defendant.           )

                                       AMENDED ORDER

       To the extent it has not already been ruled upon, Plaintiffs Figueroa and Burton’s motion
to consolidate and appoint interim counsel [37] (in No. 19 C 1306) is granted. Pursuant to Civil
Rule 42(a), the Figueroa case (19 C 1306) is consolidated for all purposes with the Marshall
case (19 C 1511). Pursuant to Civil Rule 23(g)(3), Attorneys Jay Edelson of Edelson PC and
James B. Zouras of Stephan Zouras LLP are appointed to serve as interim class counsel.

                                          STATEMENT

       The Figueroa counsel group and the Marshall counsel group both have the experience
required by Rules 23(g)(1)(A) and (g)(4) to serve as adequate class counsel. The Marshall group
made the court’s Rule 23(g)(2) choice between the two easy when it filed its surreply brief.
Doc. 87. (All case citations are to the docket in the Figueroa case, 19 C 1306.) While the
Figueroa group’s reply brief was frank and tough, addressing what it viewed as flaws in the
Marshall group’s approach to BIPA class action litigation, the brief was professional and
adhered strictly to the merits of which group would better represent the class. Doc. 82. The
Marshall group’s surreply, by contrast, reflected extremely poor judgment by airing and getting


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into matters from the divorce case involving one of the two lead members of the Figueroa group.
Doc. 87 at 6-7. That was gratuitous—the information from the divorce case did nothing to
support the Marshall group’s argument that the Figueroa group lacks the financial resources to
vigorously prosecute this putative class action—and highly inappropriate. Exacerbating matters
is the carelessness the Marshall group exhibited by attaching to its surreply three court
documents from the divorce case that identified the names and birthdates or birth years of the
divorcing couple’s minor children. Docs. 87-7, 87-8, 87-10. (The court sealed those documents,
Doc. 93, on the Figueroa group’s motion, Doc. 90.)

        Given the poor judgment and carelessness exhibited in their surreply brief, the Marshall
group will not be appointed as interim class counsel. See Fed. R. Civ. P. 23(g)(1)(B) (providing
that the court “may consider any other matter [other than those set forth in Rule 23(g)(1)(A)]
pertinent to counsel’s ability to fairly and adequately represent the interests of the class”). The
Figueroa group is selected as interim class counsel.

         Before concluding, the court notes that, as of the close of business on September 17,
2019, it was seriously contemplating the possibility of appointing one of the two lead members
of the Marshall group as co-lead counsel in light of that attorney’s apparent disavowal of the
surreply brief, which he neither signed nor filed. Doc. 88-1 at 12. That possibility evaporated
when that attorney filed a declaration after the close of business endorsing the surreply, Doc. 92,
and when, on the record at the September 18, 2019 hearing, Doc. 93, he endorsed in particular
the surreply’s use of the divorce case as an appropriate tactic to advance the Marshall group’s
efforts to prevail on this motion.



September 19, 2019
                                                      United States District Judge




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